 Case 1:21-cv-01592-CJB Document 11 Filed 01/07/22 Page 1 of 1 PageID #: 204




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

THE NIELSEN COMPANY (US), LLC,                      )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )      C.A. No. 21-1592-LPS
                                                    )
TVISION INSIGHTS, INC.,                             )
                                                    )
               Defendant.                           )


   DEFENDANT TVISION INSIGHTS, INC.’S MOTION TO DISMISS COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6) and 35 U.S.C. § 101, defendant

TVision Insights, Inc. (“TVision”) respectfully moves to dismiss the Complaint (D.I. 1). The

grounds for this motion are fully set forth in TVision’s Opening Brief in Support of Its Motion to

Dismiss Complaint, filed contemporaneously herewith.

       WHEREFORE, TVision respectfully requests that the Court enter the attached order

granting this motion.


                                                    /s/ Nathan R. Hoeschen
                                                    John W. Shaw (No. 3362)
                                                    Nathan R. Hoeschen (No. 6232)
 OF COUNSEL:                                        SHAW KELLER LLP
 Ajay S. Krishnan                                   I.M. Pei Building
 Julia L. Allen                                     1105 North Market Street, 12th Floor
 Bailey W. Heaps                                    Wilmington, DE 19801
 Reaghan E. Braun                                   (302) 298-0700
 KEKER, VAN NEST & PETERS LLP                       jshaw@shawkeller.com
 633 Battery Street                                 nhoeschen@shawkeller.com
 San Francisco, CA 94111-1809                       Attorneys for Defendant
 (415) 391-5400

 Dated: January 7, 2022




                                                1
